   Case: 1:19-cv-01339 Document #: 217 Filed: 03/06/20 Page 1 of 3 PageID #:6213




                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS

UNION ASSET MANAGEMENT HOLDING
AG AND SJUNDE AP-FONDEN, Individually,
                                                       Case No. 1:19-cv-01339
and on Behalf of All Others Similarly Situated,
                                   Plaintiffs,         ECF Case

                       - v. -                          The Hon. Robert M. Dow, Jr.

THE KRAFT HEINZ COMPANY, et al.,

                                   Defendants.


                            MOTION TO DISMISS
                 THE CONSOLIDATED CLASS ACTION COMPLAINT


       Pursuant to Federal Rules of Civil Procedure 9(b) and 12(b)(6) and the Private Securities

Litigation Reform Act of 1995, 15 U.S.C. § 78u-4, et seq., and upon the accompanying

memorandum of law and exhibits, Defendants 3G Capital Partners, 3G Capital, Inc., 3G Global

Food Holdings, L.P., 3G Global Food Holdings GP LP, 3G Capital Partners LP, 3G Capital

Partners II LP, and 3G Capital Partners Ltd. respectfully move the Court to dismiss Plaintiffs’

Consolidated Class Action Complaint dated January 6, 2020 in its entirety and with prejudice.

Additionally, at the conclusion of the briefing on this motion, as so ordered by the Court, the

Defendants request the opportunity to present oral argument on this motion.
 Case: 1:19-cv-01339 Document #: 217 Filed: 03/06/20 Page 2 of 3 PageID #:6214




Date: New York, New York             Respectfully submitted,
      March 6, 2020
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                                      2
   Case: 1:19-cv-01339 Document #: 217 Filed: 03/06/20 Page 3 of 3 PageID #:6215




                                CERTIFICATE OF SERVICE

       I hereby certify that on March 6, 2020, I electronically filed the foregoing Motion to

Dismiss the Consolidated Class Action Complaint with the Clerk of the Court through the

CM/ECF system, which will automatically send notification of the filing to all counsel of record.




                                              /s/ Robert E. Earles




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